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                                       UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                               www.flsb.uscourts.gov
                                                          CHAPTER 13 PLAN (Individual Adjustment of Debts!

                              iMl                                              Original Plan

                              □                                                Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                              □                                                Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

                                                                  JOINT DEBTOR:                                             CASE NO.:
    DEBTOR: Anisley Gonzalez Gonzalez
     SS#: xxx-xx- 3589                                               SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:           Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                       the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                        be reduced, modified or eliminated.
                 To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                                    r~|   Included        [|] Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                            r~]   Included            Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                                      [■]   Included        □ Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEYS FEE

                A.       MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                         1.   $386.20                   for months   1     to 36         ;

                B.      DEBTORISV ATTORNEY'S FEE;                                               □ NONE         □ PRO BONO
             Total Fees:                $5,200.00              Total Paid:                   $1,687.00           Balance Due:         $3,513.00

             Payable _              $347.58             /month (Months     1    to 10 )

             Payable _               $37.17             /month (Months 11 to _U_ )
             Allowed fees under LR 2016-I(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    HI.         TREATMENT OF SECURED CLAIMS                              (1 NONE
    IV.         TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                       □ NONE
                A. ADMINISTRATIVE FEES OTHER THAN DEBTQRSfSV ATTORNEY'S.FEE: W NONE
                 B. INTERNAL REVENUE SERVICE; □ NONE
                        Total Due:               $8,000.00               Total Payment                   $8,000.00

                        Payable:              $222.22         /month (Months         1        to 36 )


                 C. DOMESTIC SUPPORT OBLlGATIONfSI; [f] NONE
                 D. OTHER: (1 NONE



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V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                           □ NONE
                  A. Pay            $310.42        /moiich (Months      11     to 11   )
                        Pay         $386.20        /nioiuli (Montlis    12     to 36 )
                        Pro rata dividend will be calculated by the TriLstee upon review of' Hied claims after bar date.

                  B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured iionpriority claims.
                  C. SEPARATELY CLASSIFIED:                    [f] NONE
VI.          STUDENT l.OAN PROGRAM                       d NONE
VII.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                          □ NONE
      Secured claims filed by any credilor/lcssorgranted slay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                [■] Unless provided for under a separate section, the dcbtor(s) request that upon conUrmation of this plan, the automatic slay be
                    terminated in rem as to the dcbtor{s) and in rem and in personam as to any codeblor(s) as to these creditors/lessors. Nothing
                    herein is intended to terminate or abrogate the debtor(s)' slate law contract rights.

                       Name of Creditor                      Collateral                             Acct. No. CLast 4 Digits') Assuinc/Reiect
                                                             2016 Toyota Camry                      0001
                       Toyota Financial Services
                                                                                                                              d Assume Q Reject
                       Redland Crossings                     14750 SW 264th ST, Apt 305             0305
             ~)
                                                             Miami. FL 33032                                                  d Assume Q Reject
VIII.        INCOME TAX RETURN.S AND REFUNDS:

                       d Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS □ NONE
            d Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
               Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
              Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
              before confirmation.
            Q Mortgage Modification Mediation


                           PROPERTY OF THE ESTATE WILL VECST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     I declare that the foregoing chapter 13 plan is true and correct under penalty of pcrjuity.


                  /'       '/                      Debtor                                                                Joint Debtor

                                                                       Date                                                                     Date
  Anisltjy Gon^lez^^onzalez


  /s/Jose A. Bianco, Esq.
                                                                   Date
      Attorney with permission to sign on
       Debtor(s)' behalf who certifies that
       the contents of the plan have been
         reviewed and approved by the
                          Debtor(s).*

     By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifie.s (hat the wording and
     order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than tho.se set out in paragraph IX.




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●This certification requirement applies even if tlie Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Deblor(s)' behalf




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